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                     Sines v. Kessler, new attorney for NSM /Mr. Jeff Schoep
                     Edward ReBrook, ESQ to: hoppe.ecf                                                          03/18/2019 12:40 AM
                     Cc: Jeff Schoep

  From:              "Edward ReBrook, ESQ" <rebrooklaw@gmail.com>
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  Dear Judge Hoppe:
  Please forgive me for writing to you ex parte and sua sponte . I attempted to contact
  your clerk last week, but was unsuccessful. In any case, I am the new attorney for NSM,
  Jeff Schoep (cc'd), and the National Front (although we deny that this was ever a formal
  entity). Mr. Schoep informed me that he needed a new attorney by Friday, March 15.
  Although I am barred in the Eastern District of Virginia, I have not yet been accepted
  into the Western District. My paperwork has been submitted and I will file my praecipe
  as soon as I am given access to the ECF system.
  On a related note, I wanted to inform you that Mr. James Stern is not, in my legal
  opinion and in operational fact, in any way affiliated with NSM. He is not a named
  defendant, is not the president of NSM, has never been a member of NSM, and does
  not speak for NSM. If you look at the Michigan Corporations Commission website, you'll
  see that he is not listed as a corporate officer. As such, I am not sure his presence on
  Monday's phone conference is appropriate. It is my client's plan to file counterclaims
  against Mr. Stern for fraud in the inducement, defamation, libel, and possibly other
  claims. Regardless, I would not think the Court would want to muddy the waters of an
  already complicated case with further unnecessary complications. As always, I defer to
  your good judgment.
  Thank you in advance for your time and attention.
  Very Respectfully,

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